      Case: 1:20-cv-07097 Document #: 31 Filed: 05/21/21 Page 1 of 3 PageID #:617




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ABC DIAMONDS INC.,
 Individually and on behalf of all others similarly
 situated                                                Case No. 1:20-cv-07097

                                    Plaintiff,           Hon. Gary Feinerman

 v.                                                      ORAL ARGUMENT REQUESTED

 HARTFORD CASUALTY INSURANCE
 COMPANY,

                                   Defendant.



      HARTFORD CASUALTY INSURANCE COMPANY’S MOTION TO DISMISS
         PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT

          Defendant Hartford Casualty Insurance Company (“HCIC”) files this Motion to Dismiss

Plaintiff ABC Diamonds Inc.’s (“Plaintiff”) Second Amended Class Action Complaint (“SAC”)

with prejudice for failure to state a claim under Rule 12(b)(6) for the reasons set forth in its

accompanying Memorandum in Support of Motion to Dismiss which is incorporated by reference

herein.

          WHEREFORE, HCIC respectfully requests that the Court grant this Motion and dismiss

Plaintiff’s SAC with prejudice.

                                        [signature follows]
   Case: 1:20-cv-07097 Document #: 31 Filed: 05/21/21 Page 2 of 3 PageID #:618




Dated: May 21, 2021                        Respectfully submitted,

                                           By: /s/ Anthony J. Anscombe
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                                       2
    Case: 1:20-cv-07097 Document #: 31 Filed: 05/21/21 Page 3 of 3 PageID #:619




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of May, 2021, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which sent notification of such filing to all counsel
of record.
                                                              /s/ Anthony J. Anscombe
                                                              Anthony J. Anscombe
